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                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF OREGON
                                PORTLAND DIVISION

 FEREYDUN TABAIAN and                           Civil Action No.: 3:18-cv-0326-HZ
 AHMAD ASHRAFZADEH,
                                                PLAINTIFFS’ MOTION FOR ENTRY
 Plaintiffs,                                    OF REASONABLE PROTECTIVE
                                                ORDER
 v.
                                                ORAL ARGUMENT REQUESTED
 INTEL CORPORATION,                             EXPEDITED HEARING REQUESTED

 Defendant.
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                              CERTIFICATE OF COMPLIANCE

       Pursuant to Local Rule 7-1(a), counsel for Plaintiffs certify that the parties attempted to

reach a good-faith resolution to their dispute over a final protective order, but were unable to do

so. The parties had numerous meet and confer conferences with counsel for Defendants via

telephone in the preceding thirty (30) days. Plaintiffs additionally asked for a position regarding

its request for expedited hearing (L.R. 7-1(g)) and Intel did not agree to this request.


                                               /s/Patrick B. McAndrew

              MOTION FOR ENTRY OF REASONABLE PROTECTIVE ORDER

       For the reasons shown below, Plaintiffs Fereydun Tabaian and Ahmad Ashrafzadeh

(“Plaintiffs”) respectfully request this Court enter the form protective order attached as Exhibit A,

which is based on the model form from the United States District Court for the Northern District

of California, a copy of which is attached as Exhibit B. For the Court’s convenience Plaintiffs also

attach: Exhibit C, a red-line showing the differences between Plaintiffs’ proposed order and the

Northern District’s model form; Exhibit D, a red-line showing the differences between Intel’s

proposed order and the Northern District model; and Exhibit E, a red-line showing the differences

between Plaintiffs’ proposed order and Intel’s proposed order.

                                           STANDARD

       Fed. R. Civ. P. 26(c) permits the court in which an action is pending to “make any order

which justice requires to protect the party or person from annoyance, embarrassment, oppression

or undue burden or expense” upon motion by a party or a person from whom discovery is sought.

The court may require “that a trade secret or other confidential research, development, or

commercial information not be revealed or be revealed only in a designated way.” Fed. R. Civ. P.

26(c)(g).
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       The burden of persuasion under Fed. R. Civ. P. 26(c) is on the party seeking the protective

order. Cipollone v. Liggett Group, Inc., 785 F.2d 1108, 1121 (3d Cir. 1986). To meet that burden

of persuasion, the party seeking the protective order must show good cause by demonstrating a

particular need for the protection sought. Beckman Indus., Inc., v. Int’l. Ins. Co., 966 F.2d 470,

476 (9th Cir. 1992). “A party asserting good cause bears the burden, for each particular document

it seeks to protect, of showing that prejudice or harm will result if no protective order is granted.”

Foltz v. State Farm, 331 F.3d 1122, 1130 (9th Cir. 2003), citing San Jose Mercury News, Inc., v.

District Court, 187 F.3d 1096, 1102 (9th Cir. 1999). See also

       Phillips v. General Motors Corp., 307 F.3d 1206, 1210–11 (citing Beckman Indus. Inc. v.

International Ins. Co., 966 F.2d 470, 476 (9th Cir. 1992) and San Jose Mercury News, 187 F.3d at

1102). Moreover, “‘broad allegations of harm, unsubstantiated by specific examples or articulated

reasoning, do not satisfy the Rule 26(c) test.’” Beckman Indus. Inc., 966 F.2d at 476 (quoting

Cipollone v. Liggett Group, Inc., 785 F.2d 1108, 1121 (3d Cir.1986)).

                               BACKGROUND AND HISTORY

       This patent infringement case is not AMD v. Intel or Qualcomm v. Intel—or any other case

of two competing business entities where sensitive information can tip the scales of development

or profitability in favor of one of the companies. This is an infringement matter brought by patent

owners who are individuals and could best be considered as tangentially involved in the market

for Intel’s products. Plaintiffs and Intel are in no sense direct competitors.

       There can be little dispute that almost everything Plaintiffs must prove will come from

either publicly available information or information produced by Intel in discovery. The burdens

caused by limitations on the use of, and access to, discovery material will disproportionately fall

on Plaintiffs and their counsel and experts, while the benefits of the confidential protections will




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accrue almost exclusively to Intel. Intel has leveraged this fact by proposing stricter limitations

on the access to or use of discovery materials by Plaintiffs.

       Intel has refused to provide redline edits or critique specific portions of the draft protective

orders offered by Plaintiff. Intel has denied virtually every request for compromise proposed by

the Plaintiffs. Intel’s proposals shift unreasonable procedural burdens onto Plaintiffs. Intel’s latest

draft of protective order, which also offers numerous amendments to the Northern District of

California’s model protective order, is tailored so that virtually all the revisions enhance or add

benefits flowing to Intel and increase burdens on Plaintiffs. (Exhibit D.)

       The Federal Rules of Civil Procedure are not designed to unreasonably prohibit a party

from developing its case or make it onerous for that same party to retain an expert to review

materials in a technical matter. See Shoen v. Shoen, 5 F.3d 1289, 1292 (9th Cir. 1993) (holding

that pre-trial discovery should be given “a broad and liberal treatment” and that “wide access to

relevant facts serves the integrity and fairness of the judicial process by promoting the search for

the truth”); see also Societe Nationale Industrielle Aeropatiale v. U.S. Dist. Court for the S. Dist.

of Iowa, 482 U.S. 522, 540 n.25 (1987) (affirming the “fundamental maxim of discovery that

‘mutual knowledge of all the relevant facts gathered by both parties is essential to proper

litigation’” (quoting Hickman v. Taylor, 329 U.S. 495, 507 (1947))); United States v. Procter &

Gamble Co., 356 U.S. 677, 682 (1958) (holding that modern discovery instruments “together with

pretrial procedures make a trial less a game of blind man’s bluff and more a fair contest with the

basic issues and facts disclosed to the fullest practicable extent”); Brown Badgett, Inc. v. Jennings,

842 F.2d 899, 902 (6th Cir. 1988) (“The purposes underlying the federal rules are to avoid surprise

and the possible miscarriage of justice and to eliminate the ‘sporting theory of justice.’” (citations

omitted)); Physicians Healthsource, Inc. v. Allscripts Health Sols., Inc., 254 F. Supp. 3d 1007,




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1024 (N.D. Ill. 2017) (“The purpose of discovery is integral to the quest for truth and the fair

adjudication of guilt or innocence.”); Scranton Prods., Inc. v. Bobrick Washroom Equip., Inc., 190

F. Supp. 3d 419, 427 (M.D. Pa. 2016) (“Discovery is not a competition to see which party can

manipulate legal doctrines to gain advantage.” (emphasis in original) (internal quotations

omitted)); Brannies v. Internet ROI, Inc., 67 F. Supp. 3d 1360, 1362 (S.D. Ga. 2014) (“The

discovery rules require the disclosure of all relevant information so that ultimate resolution of

disputed issues in any civil action may be based on a full and accurate understanding of the true

facts.” (internal quotations and citations omitted)).

          As is apparent from these extended conferences, Intel’s document production to date, and

Intel’s challenge to Plaintiffs’ expert (ECF 60), Intel has forestalled Plaintiffs’ ability to have

experts review Intel’s produced documents prior to Plaintiffs’ infringement contentions deadline.

Despite attempts to find reasonable solutions to Intel’s stated confidentiality needs, the parties

have been unable to agree on a protective order.

          Time is of the essence. The Court should lay to rest the parties’ disputes regarding the

protective order. Plaintiffs seek a protective order that reasonably protects the parties’ respective

confidentiality concerns without unnecessary impediments to efficiently and fairly litigating this

action.

                                     THE ISSUES IN DISPUTE

          Plaintiffs agree that the Northern District of California model order is a reasonable starting

point for a protective order in this case. Plaintiffs propose close adherence to the model form, with

modifications only to meet the particular circumstances of this case, as is evident from Plaintiffs’

red-line against the model Northern District form (Exhibit C). Some of these modifications were

proposed by Intel and are agreeable to Plaintiffs. Intel, in contrast, as reflected in Exhibit D,




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propose additional material deviations from the Northern District model, in each case shifting

burdens further onto Plaintiffs and accruing benefits for Intel. Plaintiffs oppose these material

modifications for the reasons discussed below.

         Plaintiffs and Intel disagree as to the proper adaptation of the Northern District form in six

substantive areas:

     •   The scope of the Prosecution Bar, including the definition of Relevant Technology

         delineating the Bar’s technological scope;

     •   The expiration date of the Prosecution Bar;

     •   The production and inspection of properly designated Source Code materials;

     •   The procedures for designating sensitive material and resolving disputes about the same;

     •   Expert Qualification Process; and

     •   The inadvertent production of material.

A.       Prosecution Bar – Definition of “Relevant Technology”

         In determining whether to grant a patent prosecution bar, a court “must be satisfied that the

kind of information that will trigger the bar is relevant to the preparation and prosecution of patent

applications before the [Patent and Trademark Office].” In re Deutsche Bank Tr. Co. Ams., 605

F.3d 1373, 1381 (Fed. Cir. 2010). The Court must also consider the scope of activities prohibited

by the bar, the duration of the bar, and the definition of the subject matter covered by the bar. Id.

at 1381 (citing MedImmune, Inc. v. Centocor, Inc., 271 F. Supp.2d 762, 775 n.14 (D. Md. 2003)).

In short, the party seeking imposition of the bar must show the information designated to trigger

the bar, the scope of activities prohibited by the bar, the duration of the bar, and the subject matter

covered by the bar reasonably reflect the risk presented by the disclosure of proprietary competitive

information. Id. The party seeking entry of a prosecution bar must show good cause for its



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imposition. Id. at 1378. This requires the party to present a particular and specific demonstration

of fact, as distinguished from stereotyped and conclusory statements. Gulf Oil v. Bernard, 452

U.S. 89, 102 n. 16 (1981).

         Intel proposes a patent prosecution bar applicable to Relevant Technology. Plaintiffs are

amenable to a prosecution bar tailored to the technology at issue in this case: “the use of calibration

to improve the performance characteristics of voltage regulator circuits for powering integrated

circuit chips and microprocessor chips.” (Exhibit A, ¶ 2.18.) Consistent with customary practice,

Plaintiffs propose that Relevant Technology be defined as coextensive with the technology at

issue.

         Intel, on the other hand, seeks to extend the scope of the prosecution bar to cover the entire

field of voltage regulation as well as the entire fields of integrated circuit and microprocessor

design. 1 Such a broad prosecution bar would effectively prevent Plaintiffs’ experts and counsel

from involvement in patent prosecution involving a huge swath of technology far beyond what is

at issue here. For example, it would effectively preclude Plaintiffs’ technical counsel at the

Klarquist firm from substantive involvement in this case because the prosecution bar would

prevent them from performing patent prosecution services that do not involve voltage regulation,

including the entire fields of microprocessor and integrated circuit design, as well as those

involving integrated circuits used in unrelated fields, such as power regulation in electrical utility

power systems or renewable energy sources for clients that are in no sense competitors of Intel.

See MedImmune, Inc., 271 F. Supp.2d at 775 (refusing a patent prosecution bar when there had

been no showing that patent counsel was currently prosecuting patents in the same subject matter



1
    Intel’s proposed Relevant Technology definition is as follows: “The design of microprocessors
    and integrated circuits, including voltage regulators and circuits for regulating power in
    microprocessors or other integrated circuits.”


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of the litigation). As noted above, the burden of Intel’s proposed limitation on experts and counsel

would fall almost exclusively on Plaintiffs’ experts and counsel and have little or no effect on

Intel’s experts and counsel, because the items of discovery that would be subject to the prosecution

bar would come exclusively or almost exclusively from Intel’s discovery items and not from

Plaintiffs’ discovery items.

       Not only is Intel’s proposed Relevant Technology definition objectively unreasonable, it

also deviates from Intel’s own customary practice as reflected in at least three other protective

orders involving Intel in other patent litigations. In each such case, the scope of the protective

order prosecution bar was limited to the specific technology involved in the patents asserted as

infringed. See Memory Integrity, LLC v. Intel Corp., No. 3:15-cv-00262, Protective Order Dkt-92

at ¶ 5(b) (D. Or. Jun. 3, 2015) (Exhibit F); VLSI Technology LLC v. Intel Corp., No. 5:17-cv-

05671, Protective Order Dkt-107 at Section H (N.D. Cal. Jun. 18, 2018) (Exhibit G); Godo Kaisha

IP Bridge 1 v. Intel Corp., No. 2:17-cv-00676, Protective Order Dkt-56 at ¶ 28 (E.D. Tex. Mar. 5,

2018) (Exhibit H). 2 Notably, two of these cases involve the same counsel as the instant case.


2
    The relevant technology definitions in each of these other pending Intel patent suits are as
    follows, and in each case track closely the scope of the patents at issue, rather than an entire
    general field of engineering as Intel seeks here.

    Memory Integrity: “any cache coherence feature, function, or method that, generally or as
    described in asserted patents, reduces cache-coherency-related traffic, improves throughput of
    cache coherency-related traffic, maintains cache coherence, and/or reduces latency or delay of
    cache coherency-related traffic.” (Exhibit F, ¶ 5(b).)

    VLSI: “(a) the structure and operation of cache memories; (b) structures and methods for the
    formation, connection, packaging and assembly of field effect transistors, including, and not
    limited to, (1) fabrication of FinFETs or tri-gate transistors and (2) connection or assembly of
    one or more chips, such as through a silicon bridge; (c) power management used in
    microprocessors for adjusting power of at least a portion of a component in the
    microprocessors as reflected in the material produced in this case; (d) voltage level shifting,
    including but not limited to memory address decoding circuitry, and word line drivers used in
    memory circuitry; (e) scheduling applications on one or more cores in a multi-core processor



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        Plaintiffs request that the Court adopt Plaintiffs’ Relevant Technology definition, which is

concise and directed the technical issues actually involved in this matter. 3

B.      Prosecution Bar Time Limit

        Although the Northern District model form provides for a two year prosecution bar, Intel

previously proposed to Plaintiffs a one year bar, and a one year bar is what is provided in the

Temporary Protective Order entered in this case. Plaintiffs submit that a one year bar is appropriate

in light of the fast-moving nature of technology involved in this case. Plaintiffs also suggest the

end date for the prosecution bar be one year after an individual has accessed sensitive material,

rather than one year after the final conclusion of the case. This is logical in that it protects the

party producing information from any alleged competitive harm, but does not tie an end date to an

open-ended conclusion of this lawsuit. Naturally, if an expert or counsel is involved in post-trial

briefing or appellate issues, and they review sensitive material in that context, the prosecution bar

will continue. However, memory of technical details that might be useful in drafting or revising

patent claims onto Intel products would be expected to have dissipated one year after last access.

Any expert, consultant, or counsel that does not have continuing access to Designated Material in

this matter should not be unreasonably restrained from employment or prosecuting patent

applications for an indeterminate period of time in the future.


     as reflected in the material produced in this case; or (f) power islands or voltage islands in an
     integrated circuit.” (Exhibit G, Section H.)

     Godo Kaisha: “interlayer dielectric materials, interconnect patterning and etching,
     semiconductor device patterning, interlayer dielectrics and hermetic sealing, wiring-to-
     substrate capacitance, semiconductor region doping, and trench isolation techniques.” (Exhibit
     H, ¶ 28.)
3
     In the alternative, if the Court were inclined to extend the scope of the prosecution bar beyond
     the subject matter of the patent at issue, Plaintiffs ask that the Court limit “Relevant
     Technology” to “circuits for regulating power in microprocessors or other integrated logic
     circuits.”


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        Also, the current protective order is ambiguous because is prohibits prosecution for “an

application that was filed, less than one year following the final termination of this action

(including any appeals),” but does not state a beginning date. Thus, it is not clear whether patent

applications filed before entry of the order, or prior to this action, are covered by the order.

        Furthermore, it is the Plaintiff’s understanding that Intel does not require a prosecution bar

for former employees or third parties that have access to similar materials. Such persons are more

likely to use designated materials for competitive advantage than experts, consultants, or counsel

for Plaintiffs.

        This request is reasonable and one to which Intel has previously agreed in another matter.

In the AVM Technologies, LLC v. Intel Corporation case, Intel agreed to this very provision. See

ECF 37 filed in Cause No. 1:10-cv-00610, In the United States District Court for the District of

Delaware.

C.      Production and Inspection of Properly Designated “Source Code” Materials

        1.        Access to Material

        Plaintiffs’ request sensitive material (such as “Source Code” designated material) be

produced at Plaintiffs’ counsel’s offices 4, Plaintiffs’ expert’s office, and have the ability to use

dedicated laptops to take notes (see Exhibit A, ¶9(c)).

        Intel proposes to limit access to source code material to a single computer at its Portland

counsel’s office. Intel then proposes to add additional restrictions on the manner in which source

code material can be used, essentially limiting counsel and experts to handwritten notes in a spiral

notebook, or copies of limited segments to be requested through Intel’s counsel, thereby severely



4
     To avoid cost to Defendant, Plaintiff offers to purchase dedicated computers on which the
     sensitive information can be loaded. These dedicated computers will be stored and
     safeguarded as described in Section C(2) below.


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restricting the ability of Plaintiffs’ counsel or experts to make practical and efficient use of source

code material. Further, the requirement to filter requests for copies of snippets of source code

through Intel’s counsel would require the sharing of work product with Intel’s counsel in order to

make meaningful use of the source code information.                Intel’s proposed order also (and

unnecessarily) adds language pre-placing limits on how much source code documents Plaintiffs

can request in paper format for filing briefs or other documents. (p. 18, sec. 9(d)).

        Further, it is the Plaintiff’s understanding that Intel does not require such access restrictions

for former employees or third parties that have access to similar materials. Such persons are more

likely to use designated materials for competitive advantage than experts, consultants, or counsel

for Plaintiffs.

        Plaintiffs’ lead counsel is located in Houston, Texas; Plaintiffs’ identified expert is based

in North Carolina. Requiring Plaintiffs’ counsel and expert to travel to Portland, Oregon, to review

source code, and while there be limited to a single computer with essentially no ability to record

their thoughts and analysis of the source code other than in a handwritten spiral notebook is unduly

restrictive and presumes that Plaintiffs’ counsel and experts cannot be trusted to comply with

restrictions that could be placed in the protective order.

        Intel has now produced source code designated documents for entire microprocessors, as

opposed to only the specific features at issue in this litigation. 5 Everything Intel has produced thus

far under on the secure computer (source code, schematics, etc.) requires extensive searching just

to try to locate relevant information. This is akin to Plaintiffs asking for information from a car




5
    Plaintiffs and Intel agreed to a temporary protective order in order to allow discovery to
    proceed while a permanent protective order was negotiated. Under the parties’ Temporary
    Protective Order, Intel has produced source code material under strict limitations comparable
    to what Intel seeks in its proposed permanent protective order.


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manufacturer about an anti-lock brake system and the car manufacturer producing every design

and schematic for the entire car. To only have one computer available for such review during

Intel’s Portland Counsel’s business hours and to be limited to handwritten notes in the process

dramatically constrains the flow of information to Plaintiffs.

       Plaintiffs’ request for information produced at Plaintiffs’ counsel’s offices, Plaintiffs’

expert’s office, and the ability to use duplicated laptops to take notes (see Exhibit A, ¶9(c)) is

reasonable and should be approved.

       2.      Sensitive Information is Still Protected in Plaintiffs’ Proposal

       Plaintiffs’ proposed protective order would allow source code materials to be maintained

and stored by the Receiving Party at an office of the Receiving Party’s Outside Counsel of Record

or an office of an Expert in a manner that prevents unauthorized access, and includes strict

safeguards to prevent unauthorized use or disclosure:

       - The material must be placed on encrypted, password protected external media
       such as optical discs, flash drives, or hard drives with generally-accepted, effective
       encryption means such as BitLocker or VeraCrypt.

       - The material may only be viewed on a non-networked computer maintained in a
       locked room accessible only by Outside Counsel of Record or authorized Experts,
       and on an access restricted floor.

       - The material must be kept in a locked safe or storage cabinet when not connected
       to or inserted in the non-networked computer for viewing. No material may be left
       on the non-networked computer when the external media is not connected to or
       inserted in the non-networked computer.

       - Counsel must disclose to the supplying party the location where the material will
       be maintained, and the security precautions undertaken to maintain confidentiality
       of the material both while the material is being reviewed and while the material is
       not being reviewed.

       - Every page of the material that has been printed or copied onto paper shall be
       recorded on a print log. All printing and copying shall be onto paper conspicuously
       marked “HIGHLY CONFIDENTIAL - SOURCE DESIGNATED CODE” on each
       page. All print logs shall be made available to the supplier of the material for
       inspection upon request.


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         - No portion of the material shall be e-mailed or transmitted via any electronic
         transmission method except when included in a pleading (served or filed) or
         attached to a deposition transcript. All transfers of material shall be by way of
         physical transfer of encrypted external media. Material, other than that attached to
         a pleading (served or filed) or a deposition exhibit, shall not be placed on an FTP
         site or stored in an internet accessible location for any reason for any period of time.

         Plaintiffs’ request for reasonable access in order to sift through the material that has already

been produced and likely will continue to be produced should be granted by this Court.

         3.       Access for Ahmad Ashrafzadeh

         Plaintiffs additionally seek the ability for Ahmad Ashrafzadeh to have the ability to review

documents produced in this case. Ashrafzadeh is a named plaintiff and one of the named inventors

of the patent in question. He is an electrical engineer, but is not in competition with Intel. His

ability to review documents would be invaluable to Plaintiffs in this matter. Plaintiffs’ proposed

protective order provides significant safeguards and conditions to protect information Intel

considers to be sensitive. 6 See section C(2), supra. Further, prohibiting Ashrafzadeh from viewing

produced documents impairs Plaintiffs’ ability to litigate this case and to thwart its right to

understand the advice of its counsel.

         Defendant seeks to block Ashrarzadeh from having any access to properly designated

materials above the “confidential level.” As the party seeking a restriction on disclosure, Defendant

must show good cause. This it cannot do. As the party seeking to prevent disclosure, Defendant

bears the burden of showing good cause for the protection it seeks here. See Phillips ex rel. Estates

of Byrd v. Gen. Motors Corp., 307 F.3d 1206, 1210 (9th Cir. 2002). This burden requires a


6
    While Defendant may claim its proposal is fair because neither party will have access to the other’s
    confidential information, that argument is without merit. There is little dispute that the information most
    highly relevant to the merits of the case—infringement and damages—will be Defendant’s own
    information. Accordingly, Defendant faces relatively little impairment if it claims it is willing to forego
    access to Plaintiff’s confidential information, and Defendant will likely face no impairment at all to its
    ability to assist its outside counsel in litigation.


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threshold showing that “disclosure will work a clearly defined, specific and serious injury.” U.S.

ex rel. McCoy v. Cal. Med. Review, Inc., 133 F.R.D. 143, 146 (N.D. Cal. 1990). Defendant may

not rest upon “[b]road allegations of harm, unsubstantiated by specific examples or articulated

reasoning” to establish good cause. Beckman Indus., Inc. v. Int’l Ins. Co., 966 F.2d 470, 476 (9th

Cir. 1992) (citation omitted). And, even if some harm is established, courts require that the court

balance both the interests of the parties and the public before determining whether to grant a

protective order. Ground Zero Ctr. for Non-Violent Action v. U.S. Dep’t of Navy, 860 F.3d 1244,

1260 (9th Cir. 2017).

       The factors typically considered in weighing whether to grant a protective order, include:

       (1) whether disclosure will violate any privacy interests; (2) whether the
       information is being sought for a legitimate purpose or for an improper purpose;
       (3) whether disclosure of the information will cause a party embarrassment; (4)
       whether confidentiality is being sought over information important to public health
       and safety; (5) whether the sharing of information among litigants will promote
       fairness and efficiency; (6) whether a party benefitting from the order of
       confidentiality is a public entity or official; and (7) whether the case involves issues
       important to the public.

       In re Roman Catholic Archbishop of Portland in Or., 661 F.3d 417, 424 n.5 (9th Cir. 2011)

(quoting Glenmade Trust Co. v. Thompson, 56 F.3d 476, 483 (3d Cir. 1995)). None of the public

interest factors are applicable in this instance. Moreover the information is sought for a legitimate

and proper purpose—that of determining violation of U.S. patent law.

       The threshold question is whether the disclosure of Defendant’s confidential information

to Ashrafzadeh “will cause a clearly defined and serious injury.” See Codexis, Inc. v.

EnzymeWorks, Inc., No. 3:16-cv-00826-WHO, 2017 WL 5992130, at *7–8 (N.D. Cal. Dec. 4,

2017) (granting disclosure of confidential information to party’s expert where the parties were not

in direct competition with each other); Merit Indus., Inc. v. Feuer, 201 F.R.D. 382, 385 (E.D. Pa.

2001) (granting defendant’s employees access to plaintiff’s highly confidential information after



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concluding that there was no evidence that defendant was a direct competitor). Defendant cannot

identify any concrete harm that will result from the limited disclosure of confidential information

sought by Plaintiffs.

       The risks associated with disclosure of confidential information are wholly different where

the parties are not competitors. See Codexis, Inc., 2017 WL 5992130, at *7–8; Merit Indus., Inc.,

201 F.R.D. at 385-386. Indeed, “it is presumed that disclosure to a party who is not in competition

…will be less harmful than disclosure to a competitor.” Coca-Cola Bottling Co. of Shreveport,

Inc. v. Coca-Cola Co., 107 F.R.D. 288, 293 (D. Del. 1985) (ordering disclosure of trade secret

information in commercial dispute where the parties were not competitors); see also Am. Standard

Inc. v. Pfizer Inc., 828 F.2d 734, 741 (Fed. Cir. 1987) (“Courts have presumed that disclosure to a

competitor is more harmful than disclosure to a noncompetitor.”); Intel Corp. v. VIA Techs., Inc.,

198 F.R.D. 525, 531 (N.D. Cal. 2000) (“Some courts have found an increased risk of harm when

information is being disclosed to a direct competitor.”); Boehringer Ingelheim Pharm., , Inc. v.

Hercon Labs. Corp., No. 89-484-CMW, 1990 WL 160666, at *2 (D. Del. Oct. 12, 1990) (refusing

to allow internal experts to have access to confidential information because the parties were “in

direct competition with each other.”).

       The only potential harm articulated by Defendant to date is that Ashrafzadeh is involved

in patent development and could hypothetically use Defendant’s confidential information to pursue

new inventions and patents. But Defendant’s approach—denying Ashrafzadeh all access—is not

necessary to prevent this speculative harm. As noted above, the proposed protective order already

precludes anyone from using confidential information obtained during discovery for any purpose

other than the litigation. Furthermore, the proposed protective order explicitly prevents patent

prosecution activity by anyone who reviews certain highly confidential information. (Exhibit A, ¶




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8, p. 15.) Moreover, this Court would, of course, retain jurisdiction over the parties and individuals

to enforce any violations of the protective order. As a consequence, Defendant’s fears of misuse

of its information are speculative and unfounded. The fact that Ashrafzadeh is an engineer and an

inventor does not in and of itself mean that he is a “competitor” of the Defendant, nor does it mean

that Defendant’s confidential information is at any greater risk for misuse. See Codexis, Inc., 2017

WL 5992130, at *8 (holding that there was “no reason to deny [plaintiff’s expert] access to [the

defendant’s] disclosures in this case, especially given his signed agreement to be bound to the

protective order”); E.I DuPont de Nemours & Co. v. Phillips Petroleum Co., No. 81-508, 1982

WL 63780, at *39 (D. Del. May 17, 1982) (“The Court is unable to perceive that there would be

any greater possibility of abuse of confidential information if disclosed to inside experts and

consultants than might exist with outside experts and consultants, provided that those in both

groups are required to execute a sworn statement to abide by the terms of the protective order and

submit for enforcement purposes to the jurisdiction of the Court.”). This case will likely involve

many outside experts with credentials comparable to Ashrafzadeh. As such, there is no basis to

believe that Ashrafzadeh’ s technical and professional background presents any greater risk that

Defendant’s information will be misused then there is a risk that the outside experts in this case

would do so.

       Accordingly, this Court should grant Ahmad Ashrafzadeh access to the documents

produced in this matter.

D.     Procedures for Designating Sensitive Material and Resolving Disputes Over the Same

       The Northern District model form contains provisions prohibiting indiscriminate

designation and over-designation of materials as confidential. (See Exhibit B, ¶¶ 5.1, 5.2(a) and

5.2(c).) The model form also imposes the burden of seeking court intervention regarding the

appropriateness of confidentiality designations on the designating party. (See Exhibit B, ¶ 6.3.)


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Intel proposes to eliminate the provisions against over-designation and to shift the burden in

disputes over proper designation to the party contesting the designation. (See Exhibit D, ¶¶ 5.1,

5.2(a), 5.2(b) and 6.3.). Other courts have commented on the necessity for this provision,

explaining it insures parties do not adopt a “carte blanche” approach to designating information

not otherwise entitled to that level of protection. See Quality Inv. Properties Santa Clara, LLC v.

Serrano Elec., Inc., 2010 WL 2889178 at *2 (N.D. Cal. July 22, 2010).

        Intel has provided no good reason for its suggested deviations from the Northern District

model form; Plaintiffs request that the provisions regarding confidentiality designation and judicial

intervention regarding the same be entered unchanged from the model form, as reflected in Exhibit

A (and Exhibit C), ¶¶ 5.1, 5.2(a), 5.2(b) and 6.3.) 7.

E.      Expert Qualification Process

        Plaintiffs propose that expert access to Protected Material and disputes over the same

follow the provisions of the Northern District model form, including incorporating the alternative

language stated in footnote 7 of the model form. (See Exhibits A and C, ¶¶ 7.3-7.4.) The model

form provides that if opposing counsel objects to an expert, the party seeking to disclose

information to the expert may file a motion seeking permission for providing confidential

information to the expert. Plaintiffs believe this model form language is appropriate.

        Intel, however, proposes to shift the motion obligation to the party objecting to the

disclosure. (See Exhibit D, ¶ 7.4(c).) While Intel’s proposed change may seem to benefit




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     Plaintiffs’ concerns regarding over-designation is hardly theoretical. For example, virtually
     every single page produced by Intel to date in this matter (almost 60,000 pages) have been
     produced as ATTORNEY EYES ONLY (not counting the material that has been made
     available subject to a “Source Code” Designation).



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Plaintiffs, 8 Plaintiffs are concerned that Intel’s proposed changes are ambiguous regarding what

happens if the objecting party fails to make the motion. If Intel’s proposal were adopted, it would

shift control of the timing of resolving disputes over expert access to the party objecting to access,

rather than placing properly within the control of the party seeking access. Plaintiffs propose that

the structure regarding objections to experts reflected in the model form be retained. (See Exhibit

C, ¶ 7.4(c).)

        Footnote 7 of the Northern District model form provides the following additional

alternative     language   regarding   disclosure   of    confidential   information    to   experts:

“‘CONFIDENTIAL’ or ‘HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY’

information or items may be disclosed to an Expert without disclosure of the identity of the Expert

as long as the Expert is not a current officer, director, or employee of a competitor of a Party or

anticipated to become one.” (Exhibit B, footnote 7.) The identity, number, and subject-area of

expertise can reveal litigation strategy, resources and attorney thought processes. The purpose of

requiring identification of experts to opposing counsel in the context of a protective order is to

reduce the risk that a competitor may have access to confidential information, and allow the

producing party to object. The Northern District model form’s alternative language that Plaintiffs

propose to include in the protective order here protects against that risk by removing the notice

requirement only for experts who do not and are not anticipated to work for competitors. Plaintiffs

request that the model language of footnote 7 be incorporated into the protective order in this case.

(See Exhibits A and C, ¶ 7.3(c).)




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    Since, as discussed above, it is more likely that Plaintiffs’ experts will need access to Intel
    confidential information than Intel’s experts would need access to Plaintiffs’ confidential
    information.


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F.     Inadvertent Production of Material

       Plaintiffs propose that the protective order follow the Northern District model form

regarding the treatment of inadvertent production of privileged or otherwise protected material.

(See Exhibit A and C, ¶ 13.) The model form cross-references Federal Rule of Civil Procedure

26(b)(5)(B) for the nature and scope of the obligations of the receiving party in such circumstances.

Intel’s proposed form would substitute a different (and more onerous) set of obligations on the

receiving party than those specified in Rule 26(b)(5)(B). Plaintiffs submit that the model form’s

approach is the correct one.

                          ALTERNATIVE REQUEST FOR
                   ENTRY OF MODEL ORDER FROM THIS DISTRICT

       If this Court is inclined to consider another option, Plaintiffs have no opposition to the

entry of the model two-tier protective order offered by the District Court of Oregon.

        PLAINTIFFS REQUEST A STAY OF CURRENT DEADLINES PENDING
                      RESOLUTION OF THIS DISPUTE

       The dispute over these provisions has lasted long enough to prevent Plaintiffs’ proposed

expert and its local counsel (who are experienced patent prosecution attorneys) the opportunity or

ability to review Intel’s recently produced materials. Through an agreement between the two sides,

Plaintiffs’ infringement contentions are due August 13. However, resolution of this matter may

not provide sufficient time to allow for sufficient review of the documents by qualified individuals.

       As such, Plaintiffs request this Court stay the current deadlines until a time when the

protective order and expert issue has been resolved.

                                         CONCLUSION

       The Plaintiff’s proposed Protective Order balances protection for Intel’s designated

materials without placing undue burden on the Plaintiffs. Accordingly, Plaintiffs request this Court

enter an order as requested above.


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     DATED this 2nd day of August, 2018.

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                                  CERTIFICATE OF SERVICE

      I certify that this document is being served on all counsel of record through the Court’s
ECF system on August 2, 2018.

                                                   /s/ Patrick B. McAndrew
                                                   Patrick B. McAndrew




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